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     NAME & ADDRESS
DAVID A. WARRINGTON
KUTAK ROCK LLP
901 East Byrd Street, Suite 1000
Richmond, Virginia 23219
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER
UNITED STATES OF AMERICA
                                                         PLAINTIFF,                             2:19-cr-00642-VAP
                                   v.
IMAAD SHAH ZUBERI,
                                                                             CONSENT TO VIDEO/TELEPHONIC CONFERENCE
                                        USMS Reg. #:                          AND/OR WAIVER OF DEFENDANT'S PRESENCE
                                                       DEFENDANT(S).                   AND PROPOSED FINDINGS/ORDER
Check each that applies:
   CONSENT TO VIDEO CONFERENCE/TELEPHONIC CONFERENCE                                         WAIVER OF DEFENDANT'S PRESENCE
1. Consent to Video Conference/Telephonic Conference
I, Imaad Shah Zuberi                                           , understand that the U.S. Constitution, the Federal Rules of Criminal
Procedure, and/or one or more federal statutes may give me the right to have all the below-listed proceedings take place in person in
open court. After consultation with counsel, I knowingly and voluntarily consent to the proceedings below instead taking place by
video conference or, if video conference is not reasonably available, by telephonic conference:
Check each that applies:

     Detention/Bail Review/Reconsideration Hearing(s) (18 U.S.C. Sec. 3142)                  Initial Appearance (Fed. R. Crim. P. 5)
     Preliminary Hearing (Fed. R. Crim. P. 5.1)                                              Arraignment (Fed. R. Crim. P. 10)
     Pretrial Release Revocation Proceedings (18 U.S.C. Sec. 3148)                           Waiver of Indictment (Fed. R. Crim. P. 7(b))
     Misdemeanor Pleas and Sentencings (Fed. R. Crim. P. 43(b)(2))                           Appearances under Fed. R. Crim. P. 40
     Probation and Supervised Release Revocation Proceedings (Fed. R. Crim. P. 32.1)
Note: to consent to an appearance by video or telephonic conference at one of the two proceedings listed below, you must also complete
the "Proposed Findings" section on page 2 of this form.
                      Felony Pleas (Fed. R. Crim. P. 11)               Felony Sentencings (Fed. R. Crim. P. 32)

2. Waiver of Defendant's Presence
I,                                                             , understand that the U.S. Constitution, the Federal Rules of Criminal
Procedure, and/or one or more federal statutes may give me the right to be present at all of the below-listed proceedings - in person,
by video conference, or by telephonic conference. After consultation with counsel, I knowingly and voluntarily waive my right to be
present in person in open court or by video conference or by telephonic conference at the proceedings below:

Check each that applies (and use Form CR-35 to waive the defendant's presence at other types of proceedings):

     Detention/Bail Review/Reconsideration Hearing(s) (18 U.S.C. Sec. 3142)                  Probation and Supervised Release Revocation
     Preliminary Hearing (Fed. R. Crim. P. 5.1)                                              Proceedings (Fed. R. Crim. P. 32.1)

     Pretrial Release Revocation Proceedings (18 U.S.C. Sec. 3148)                           Waiver of Indictment (Fed. R. Crim. P. 7(b))
     Misdemeanor Pleas and Sentencings (Fed. R. Crim. P. 43(b)(2))                           Appearances under Fed. R. Crim. P. 40

May 2, 2021
Date                                                     Defendant                  Signed for Defendant by Counsel for Defendant with
                                                                                    Defendant's Authorization [Check if applicable]
In Custody?                For in-custody defendants,
      Yes        No        list institution where housed:
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I have translated this consent/waiver to the Defendant in the                                                                language.




Date                                                  Interpreter (if required)
                                                                                     Signed for Interpreter by Counsel for Defendant with
                                                                                     Interpreter's Authorization [Check if applicable]


I am counsel for the Defendant herein. Prior to the Defendant signing this document or authorizing me to sign this document on the
Defendant's behalf, I fully advised the Defendant of the Defendant's above-referenced rights and consulted with the Defendant
regarding such rights and the Defendant's consent/waiver(s). I believe that the Defendant understands such rights and that the
Defendant's consent/waiver(s) are knowing and voluntary, and I concur with such consent/waiver(s).



May 2, 2021
Date                                                  Counsel for Defendant




3. Proposed Findings Regarding Harm of Further Delay of Felony Plea or Sentencing

Pursuant to § 15002(b)(2) of the Coronavirus Aid, Relief, and Economic Security ("CARES") Act and § 2 of Order of the Chief Judge
No. 20-043 (In Re: Coronavirus Public Emergency Use of Video and Telephonic Conference in Certain Criminal Proceedings), felony
pleas and sentencings cannot be conducted other than in person in open court unless the judge makes specific findings that the plea
or sentencing "cannot be further delayed without serious harm to the interests of justice." Accordingly, if the defendant intends to
consent to a felony plea or sentencing taking place by video conference or, if video conference is not reasonably available, by
telephonic conference, instead of in person in open court, the defendant must set forth below proposed findings sufficient to make
this showing.




 4. Order Adopting Findings Regarding Harm of Further Delay of Felony Plea or Sentencing

 Pursuant to § 15002(b)(2) of the Coronavirus Aid, Relief, and Economic Security ("CARES") Act and § 2 of Order of the Chief Judge
 No. 20-043 (In Re: Coronavirus Public Emergency Use of Video and Telephonic Conference in Certain Criminal Proceedings), I
 hereby find that the:
                        Felony Plea (Fed. R. Crim. P. 11)                Felony Sentencing (Fed. R. Crim. P. 32)

 in this case cannot be further delayed without serious harm to the interests of justice, for the reasons set forth above.



Date                                                  United States District Judge


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